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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO                           2022 MAR24 AN 8: 2 7
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                                CASE NO.
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                                                                                ~:i!E1J~A~~O
                                                                                      v cfN ctHNATIT
               Plaintiff,                                JUDGE        J. BARRE'IT
        v.

COMERT KURDISTAN (a/k/a COMERT
ARDIC),                                                  INDICTMENT

EMMA BROWN (a/k/a EMMA NUR),                             8 U. S. C. § 1324(a)(l)(A)(i, v)

ISMAIL ALTUNDAG,

               Defendants.


THE GRAND JURY CHARGES:


                                             COUNT 1
                            (Conspiracy to bring in certain aliens)

       Beginning on or about October I, 2021 and continuing through on or about November 22,

202 1, in the Southern District of Ohio and elsewhere, the defendants, COMERT KURDISTAN

(a/k/a COMERT ARDIC), EMMA BROWN (a/k/a EMMA NUR), and ISMAIL ALTUNDAG,

and others known and unknown to the Grand Jury, did knowingly and willfully combine, confederate,

conspire, and agree with each other and other persons, both known and unknown to the Grand Jury,

to bring and attempt to bring in any manner whatsoever B.A. to the United States, knowing that said

person was an alien, at a place other than as designated by the Secretary of Homeland Security.

       In violation of 8 U.S.C. § 1324(a)(l)(A)(i) and (v).

                                             COUNT2
                            (Conspiracy to bring in certain aliens)

       Beginning on or about October I, 2021 and continuing through on or about November 22,

2021 , in the Southern District of Ohio and elsewhere, the defendants, COMERT KURDISTAN
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(a/k/a COMERT ARDIC), EMMA BROWN (a/k/a EMMA NUR), and ISMAIL ALTUNDAG,

and others known and unknown to the Grand Jury, did knowingly and willfully combine, confederate,

conspire, and agree with each other and other persons, both known and unknown to the Grand Jury,

to bring and attempt to bring in any manner whatsoever S.B. to the United States, knowing that said

person was an alien, at a place other than as designated by the Secretary of Homeland Security.

       In violation of 8 U.S.C. § 1324(a)(l)(A)(i) and (v).

                                           COUNT3
                          (Conspiracy to bring in certain aliens)

       Beginning on or about October 1, 2021 and continuing through on or about November 22,

2021, in the Southern District of Ohio and elsewhere, the defendants, COMERT KURDISTAN

(a/k/a COMERT ARDIC), EMMA BROWN (a/k/a EMMA NUR), and ISMAIL ALTUNDAG,

and others known and unknown to the Grand Jury, did knowingly and willfully combine, confederate,

conspire, and agree with each other and other persons, both known and unknown to the Grand Jury,

to bring and attempt to bring in any manner whatsoever M.C. to the United States, knowing that said

person was an alien, at a place other than as designated by the Secretary of Homeland Security.

       In violation of 8 U.S.C. § 1324(a)(l)(A)(i) and (v).

                                           COUNT4
                      (Aid and abet the bringing in of certain aliens)

       Beginning on or about October I, 2021 and continuing through on or about November 22,

2021, in the Southern District of Ohio and elsewhere, the defendants, COMERT KURDISTAN

(a/k/a COMERT ARDIC), EMMA BROWN (a/k/a EMMA NUR), and ISMAIL ALTUNDAG,

did knowingly and willfully aid and abet others in bringing and attempting to bring in any manner

whatsoever B.A. to the United States, knowing that said person was an alien, at a place other than as

designated by the Secretary of Homeland Security.

       In violation of 8 U.S.C. § 1324(a)(l)(A)(i) and (v).


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                                          COUNT 5
                     (Aid and abet the bringing in of certain aliens)

       Beginning on or about October I, 2021 and continuing through on or about November 22,

2021, in the Southern District of Ohio and elsewhere, the defendants, COMERT KURDISTAN

(a/k/a COMERT ARDIC), EMMA BROWN (a/k/a EMMA NUR), and ISMAIL ALTUNDAG,

did knowingly and willfully aid and abet others in bringing and attempting to bring in any manner

whatsoever S.B. to the United States, knowing that said person was an alien, at a place other than as

designated by the Secretary of Homeland Security.

       In violation of 8 U.S.C. § 1324(a)(l)(A)(i) and (v).

                                           COUNT6
                      (Aid and abet the bringing in of certain aliens)

       Beginning on or about October I, 2021 and continuing through on or about November 22,

2021, in the Southern District of Ohio and elsewhere, the defendants, COMERT KURDISTAN

(a/k/a COMERT ARDIC), EMMA BROWN (a/k/a EMMA NUR), and ISMAIL ALTUNDAG,

did knowingly and willfully aid and abet others in bringing and attempting to bring in any manner

whatsoever M.C. to the United States, knowing that said person was an alien, at a place other than as

designated by the Secretary of Homeland Security.

       In violation of 8 U.S.C. § 1324(a)(l)(A)(i) and (v).

                                             A TRUE BILL


                                                              /:s/
                                             FOREPERSON            l


KENNETH L. PARKER
UNITED STATES ATTORNEY




ASSISTANT UNITED STATES ATTORNEY


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